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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                               Eastern Division

National Collegiate Athletic Association Student−Athlete
Concussion Injury Litigation, et al.
                                                            Plaintiff,
v.                                                                        Case No.:
                                                                          1:13−cv−09116
                                                                          Honorable John
                                                                          Z. Lee
National Collegiate Athletic Association
                                                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, June 23, 2015:


        MINUTE entry before the Honorable John Z. Lee:Agreed motion for extension of
time to file objection to the Lead Plaintiffs' pending motion for preliminary approval of
class settlement [189] is granted until 7/15/15. No appearance is required on the
motion.Mailed notice(ca, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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